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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                           FILE
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                                 JONESBORO DIVISION                  1


CYNTHIA L. JACKSON

                       Plaintiff,
                                                      Civil Action No.   %'> 5- <!.., v ~5 - LJ~
       -against-

PORTFOLIO RECOVERY ASSOCIATES, LLC                    JURY TRIAL DEMANDED
A Virginia Corporation

                       Defendant.



                                    ORIGINAL COMPLAINT

    Plaintiff, Cynthia L. Jackson (Jackson), by her undersigned counsel brings this action against


Portfolio Recovery Associates, LLC (Portfolio), and states:


                       STATEMENT OF JURISDICTION AND VENUE


       1.       Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331, 15 U.S.C.

§1692k(d) and 28 U.S.C. §1367 for pendant State law claims.


       2.        This action arises out of Defendant's violations of the Fair Debt Collection

Practices Act, 15 U.S.C. §1692, et seq. and tort claims for invasion of privacy.

        3.      The acts and events complained of in this Complaint occurred within Jonesboro,

Craighead County, Arkansas.

       4.       Venue is proper pursuant to 28 U.S.C. §139l(b)(2) because the events giving rise

to the claims occurred here, Plaintiff resides here, and Defendant transacts business here.
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                                        PARTIES TO THE CLAIM

        5.       The averments set forth in paragraphs 1-4 are adopted herein and incorporated as

if set forth word for word.


        6.       Jackson is a resident of Jonesboro, Craighead County, Arkansas, and is a

"conswner" as defined by 15 U.S.C. §1692a(3), and/or "any person" as defined by 15 U.S.C.

§1692d;

        7.       At the time of the incident described further herein, Portfolio was a corporation

duly authorized to conduct business in the State of Arkansas as a "debt collector," as that term is

defined by 15 U.S.C. §1692a(6) and is registered and licensed with the Arkansas State Board of

Collection Agencies, and attempting to collect a "debt," as defined in 15 U.S.C. §1692a(5).

        8.       Portfolio is being served via its registered agent:

                                Corporation Service Company
                                300 Spring Building, Suite 900
                                300 S. Spring Street
                                Little Rock, AR 72201

                                    FACTUAL BACKGROUND
        9.       The averments set forth in paragraphs 1-8 are adopted herein and incorporated as

if set forth word for word.


        10.      Portfolio filed a lawsuit against Jackson in the District Court of Craighead

County, Arkansas on March 24, 2014 alleging a conswner debt.

        11.      The lawsuit and attached affidavit alleges Jackson defaulted on a credit card

account obligation with the original creditor, Capital One Bank. A copy of that suit is attached

hereto as "Exhibit 1" and incorporated as if set forth word for word.


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       12.      Portfolio asserted it purchased and was assigned the account.

       13.      The Complaint requests costs and post-judgment interest at the contract rate.

       14.      Because "costs and post-judgment interest at the contract rate" are not authorized

by the agreement creating the debt, the Complaint seeks to collect amounts not authorized by

contract in violation of 15 U.S.C. §1692f(l).

       15.      By not attaching the agreement upon which it is suing, Portfolio is making a false

representation of the character, amount, or legal status of the debt in violation of 15 U.S.C.

§1692e(2)(A).

       16.      By not attaching the agreement upon which it is suing, Portfolio is engaging in

unfair or unconscionable means in its attempt to collect the alleged debt in violation of 15

u.s.c. §1692f.
       17.      Portfolio has attached no contractual authorization from the original creditor that

the original creditor was authorized to assign, transfer or sell Jackson's account; therefore,

Portfolio is in violation of 15 U.S.C. §1692e(5) as Portfolio has evidenced no standing to sue

Jackson and is taking action it cannot legally take.

       18.      Portfolio is in violation of 15 U.S.C. §1692e(10) by making false representations

and engaging in deceptive means in attempting to collect the debt by its inability to document

any agreement between Jackson and any creditor.

       19.      At the time it commenced the action against Jackson, Portfolio possessed

insufficient evidence and intended not to further investigate in violation of 15 U.S.C.

§1692(e)(5).

      20.       Portfolio failed to send Jackson written notice, within five days after its initial

communication, containing the information required under 15 U.S.C. §1692g(a).

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        21.      Upon information and belief, the account m question went into default m

 December 2008.

        22.      Portfolio's cause of action accrued in December 2008.

        23.      Pursuant to Ark. Code Ann. §16-56-111, all actions based upon an instrument in

 writing shall brought within five years from the date the cause of action accrued.

        24.      Portfolio's cause of action against Jackson expired in December 2013.

        25.      By bringing a lawsuit against Jackson which was outside the applicable statute of

 limitations, Portfolio is in violation of 15 U.S.C. §1692e(5) by taking action it could not legally

take.

        26.      Portfolio's conduct violates the FDCPA for which strict liability applies pursuant

to 15 U.S.C. §1692, et seq.

        27.      Portfolio's conduct violates the FDCPA for which statutory damages apply

pursuant to 15 U.S.C. §1692k(a)(2)(A).

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

        28.      The averments set forth in paragraphs 1-27 are adopted herein and incorporated as

if set forth word for word.

        29.      Portfolio is in violation of the following sections of the Fair Debt Collection

Practices Act as alleged above:

                 a.     15 U.S.C. §1692e(2)(A): Making a false representation of the character,

amount, or legal status of any debt;

                 b.     15 U.S.C. §1692e(5): Taking action that cannot legally be taken or that is

not intended to be taken;




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                c.      15 U.S.C. §1692e(10): The use of any false representation or deceptive

means to collect any debt;

                d.      15 U.S.C. §1692f: Using unfair or unconscionable means to collect or

attempt to collect any debt;

                e.      15 U.S.C. §1692f(l): The collection of any amount unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.

                f.      15 U.S.C. §1692g(a) by not sending the required notification to Jackson.

                     INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       30.      The averments set forth in paragraphs 1-29 are adopted herein and incorporated as

if set forth word for word.

       31.      Portfolio intentionally intruded physically or otherwise upon Jackson's solitude or

seclusion and believed or was substantially certain that it lacked the necessary legal authority or

personal permission, invitation or valid consent to commit the intrusive act.

       32.      Portfolio's intrusion was of a kind that would be highly offensive to a reasonable

person as the result of conduct to which a reasonable person would strongly object.

       33.      Jackson conducted herself in a manner consistent with an actual expectation of

pnvacy.

       34.      Portfolio's intrusion was a proximate cause of Jackson's damages.

                                           DAMAGES

       35.     The averments set forth in paragraphs 1-34 are adopted herein and incorporated as

if set forth word for word.


       36.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Jackson is entitled to the following damages:

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                a. actual costs, expenses and attorney fees pursuant to 15 U.S.C §1692(k)(a)(3);


                b. statutory damages in the maximum amount of: $1,000.00 pursuant to 15 U.S.C.
§ 1692(k)(a)(2)(A).
                c. actual damages pursuant to 15 U.S.C. §1692k(a)(l) for mental anguish, stress

and humiliation.

                d. damages based on invasion of privacy.

                                 DEMAND FOR JURY TRIAL

       37.      The averments set forth in paragraphs 1-36 are adopted herein and incorporated as

if set forth word for word.


       38.      Jackson demands ajury trial on all issues so triable.




                                             PRAYER


       WHEREFORE, Jackson prays that:

       1. She be granted statutory damages pursuant to the 15 U.S.C. §1692k(a)(2)(A);

       2. She be granted actual damages pursuant to the 15 U.S.C. §1692k(a)(l);

       3. She be granted costs and attorney fees pursuant to 15 U.S.C. §1692k(a)(3).

       4. She be granted damages for invasion of privacy.




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                                      Respectfully submitted,



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                                      Attorneys for Plaintiff




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                 IN THE DISTRICT COURT OF CRAIGHEAD COUNTY, ARKANSAS
                                   JONESBORO DMSION                ;.:.4R                    zm         24 A IQ: I 3
    PORTFOLIO RECOVERY ASSOCIATES, LLC

    V.                                    CASE NO.        C- IL/. e-1~
   CYNTIDA L JACKSON                                                                              DEFENDANT

                                                  COMPLAINT

           Comes the Plaintiff and for its cause of action against the Defendant, states:

           1. That the Plaintiff is a corporation authorized to bring this action under Ark. Code Ann.§ 4-27-
   1501.

           2. That the Defendant is a resident of Craighead County, Arkansas.

           3. Jurisdiction and venue are proper in this Court.

          4. That Defendant purchased certain items with extensions of credit obtained on his/her
  Capital One Bank (USA), NA account. This account was purchased by, and assigned to the Plaintiff for
  good and valuable consideration.

          5. That the amount past due on said account, which has not been paid, and has been owed for a
  period of time is as follows, principle amount, $839.92, as set out in Plaintiffs Affidavit which is attached
  hereto and incorporated herein by reference.

           6. That demand had been made for the payment of same, yet the balance remains unpaid.

          WHEREFORE, Plaintiff prays for Judgment against Defendant in the amount of$ 839.92, for all
 costs herein paid and expended, for post-judgment interest at the contract rate, and for all other proper relief.




S&A File No. 13-03181-0
l'O\J
                                                                                     EXHIBIT

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                                                                             AFFIDAVIT

     State of California
     City of San Diego ss.
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     I, the undersigned, - - - - - - - - - - - - • Custodian of Records, for Portfolio Recovery Associates, LLC
     hereby depose, affirm and state as follows:

     1.      I am competent to testify to the matters contained herein.

    2.       I am an authorized employee of Portfolio Recovery Associates, LLC, ("Account Assignee") which is doing
    business at Riverside Commerce Center, 120 Corporate Boulevard, Norfolk, Virginia, and I am authorized to make the
    statements, representations and averments herein, and do so based upon a review of the business records of the Original
    Creditor CAPITAL ONE BANK (USA) NA/CAPITAL ONE BANK, N.A. and those records transferred to Account
    Assignee from CAPITAL ONE BANK (USA), N.A. ("Account Seller"), which have become a part of and have
    integrated into Account Assignee's business records, in the ordinary course of business.

    3.       According to the business records, which are maintained in the ordinary course of business, the account, and all
    proceeds of the account are now owned by the Account Assignee, all of the Account Seller's interest in such account
    having been sold, assigned and transferred by the Account Seller on 612612012. Further, the Account Assignee has been
    assigned all of the Account Seller's power and authority to do and perform all acts necessary for the settlement,
    satisfaction, compromise, collection or adjustment of said account, and the Account Seller has retained no further interest
    in said account or the proceeds thereof, for any purpose whatsoever.

    4.        According to the records transferred to the Account Assignee from Account Seller, and maintained in the ordinary
    course of business by the Account Assignee, there was due and payable from CYNTHIA L JACKSON ("Debtor and Co-
    Debtor") to the Account Seller the sum of $ 839.92 with the respect to account number ending             as of the date of
    7f2/2009 with there being no known un-credited payments, counterclaims or offsets against the said debt as of the date of
    the sale.

    5.       According to the account records of said Account Assignee, after all known payments, counterclaims, and/or
    setoffs occurring subsequent to the date of sale, Account Assignee claims the sum of$ 839.92 as due and owing as of the
    date of this affidavit.

    6.      Plaintiff believes that the defendant is not a minor or an incompetent individual, and declares that the Defendant is
    not on active military service of the United States.




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    By:----------~· Custodian of Records
                                                                    ?-24
    Subscribed and sworn to before me on            of    ~ !) l 4
    by                           , proved to me on the basis of satisfactory evidence to be
    the person(s)         ared before me.


    Notary Public


                                                    This conununication i~ from a debt collector and is an attempt to collect a debt
                                                              Any information obtained will be used for that purpose.


    13-03181-0
